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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

VIRGINIA BLACK

V.                                                                  CASE NO 3:06CV 430 (CFD)

MERCHANTS’CREDIT GUIDE CO.

                                   NOTICE OF DISMISSAL

        Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action

without costs or fees to any party.

                                                    THE PLAINTIFF



                                                    BY_____/s/ Joanne S. Faulkner_____
                                                    JOANNE S. FAULKNER ct04137
                                                      123 Avon Street
                                                    New Haven, CT 06511-2422
                                                     (203) 772-0395



Certificate of Service

I hereby certify that on May 12, 2006, a copy of foregoing Notice of Dismissal was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’
                                                                                                     s
electronic filing system. Parties may access this filing through the Court’   s system.

                                                   ____/s/ Joanne S. Faulkner___
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